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                  IN THE UNITED STATES DISTRICT COURT FOR
                   THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   *
                                           *
             v.                            *   Criminal No. 24-cr-257
                                           *
MOHAMAD HAMAD                              *

       MOTION TO MODIFY CONDITIONS OF PRETRIAL RELEASE

     Mohamad Hamad (“Mr. Hamad”) respectfully files this Motion to Modify

Conditions of Pretrial Release, and in support, he states:


     1. On November 19, 2024, Mr. Hamad was charged in a two-count

        indictment alleging that he was involved in a conspiracy to damage or

        deface religious real property, in violation of 18 U.S.C. §§ 371, 247(c),

        247(d)(5), and (2).

     2. On October 30, 2024, Mr. Hamad made his initial appearance on this

        matter. At that time, he was released on an unsecured $50,000 bond with

        conditions, including that he be placed on home detention. See ECF 17 at

        5.

     3. Mr. Hamad seeks to remove the condition that he be placed on home

        detention. He asks the court to instead impose a curfew with all other

        conditions of his pretrial release to remain in place. Under the proposed

        modification, he would remain on electronic monitoring.

     4. Mr. Hamad has been on home detention for approximately 152 days, with

        no violations of any kind reported to this Honorable Court. He has
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           demonstrated compliance with the Court’s previously imposed stringent

           set of conditions and earned the trust to be permitted to leave his home

           during a curfew window.

       5. In further support of this motion, Mr. Hamad offers several letters from

           members of the community that speak to his character, which 18 U.S.C. §

           3142(g) names as a factor to be considered when a judicial officer is

           considering conditions of release for the accused.1

       6. Undersigned counsel conferred with United States Probation Officer

           (“USPO”) Benjamin Orrison, who stated that while removal from home

           detention is not recommended by USPO at this time, Officer Orrison

           confirmed that Mr. Hamad has been compliant with all his conditions of

           pretrial release.



       WHEREFORE, Mr. Hamad respectfully requests these modifications of his

 conditions of pretrial release within the proposed Order of Court be granted.

                                         Respectfully submitted,

                                         /s/ Yemi T. Olaiya
                                         Yemi T. Olaiya
                                         Assistant Federal Public Defender




1 See Exhibits A - H attached to this motion.
